                              REVERSE the order granting judgment on the pleadings AND
                  REMAND this matter to the district court for further proceedings
                  consistent with this order.



                                                                ALA

                                                                                          J.




                  CHERRY, J., concurring:
                              For the reasons stated in the SFR Investments Pool I, LLC   ix

                  U.S. Bank, N.A.,   130 Nev. , 334 P.3d 408 (2014), dissent, I disagree
                  that respondent lost its lien priority by virtue of the homeowners
                  association's nonjudicial foreclosure sale. I recognize, however, that SFR
                  Investments is now the controlling law and, thusly, concur in the
                  disposition of this appeal.

                                                                                          J.




                  cc:   Hon. Michelle Leavitt, District Judge
                        Alessi &amp; Koenig, LLC
                        Akerman LLP/Las Vegas
                        Eighth District Court Clerk




SUPREME COURT
        OF
     NEVADA
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